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 6
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 7 United States of America

 8
                                    IN THE UNITED STATES DISTRICT COURT
 9
                                        EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                             CASE NO. 2:17-CR-0060 MCE
12
                                       Plaintiff,          STIPULATION AND [PROPOSED] PROTECTIVE
13                                                         ORDER
                               v.
14
     PAMELA EMANUEL, et al.
15
                                       Defendants.
16

17
               WHEREAS, the parties desire to prevent the unauthorized disclosure or dissemination of certain
18
     sensitive but unclassified discovery materials to anyone not a party to the court proceedings in this
19
     matter;
20
               WHEREAS, the sensitive but unclassified discovery materials at issue include information
21
     pertaining to victims or potential victims in this case, including personal identifying information and
22
     financial information, as well as various personal identifying information for others involved in this
23
     matter;
24
               WHEREAS, the parties agree that entry of a stipulated protective order is appropriate, and that a
25
     private agreement is not appropriate in light of the nature of the information at issue and the charges in
26
     this case; and
27
               WHEREAS, defendants PAMELA EMANUEL, GREGORY LEE, and BRITTANY
28

     Stipulation & [Proposed] Protective Order             1
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 1 MAUNAKEA have counsel (hereinafter “Defense Counsel”) who wish to have the opportunity to

 2 review the discovery;

 3          Defendants PAMELA EMANUEL, GREGORY LEE, and BRITTANY MAUNAKEA and

 4 plaintiff United States of America, by and through their counsel of record, hereby agree and stipulate as

 5 follows:

 6          1.       This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 7 Criminal Procedure, its general supervisory authority, and Local Rule 141.1.

 8          2.       This Order pertains to all discovery provided to or made available to Defense Counsel in

 9 this case (hereafter, collectively known as “protected discovery”).

10          3.       Defense Counsel shall not disclose any of the protected discovery to any person other

11 than their respective client, or attorneys, law clerks, paralegals, secretaries, experts, and investigators,

12 involved in the representation of their respective client. However, at no time shall defendant be

13 permitted to review the protected discovery outside of the presence of Defense Counsel or Defense

14 Counsel’s partners, associates, or employees as designated by Defense Counsel, and Defense Counsel or

15 his/her designee shall not leave any of the protected discovery with defendant at any location unless the

16 protected discovery has been appropriately redacted by Defense Counsel and noted on a log/ledger that

17 is created and retained by Defense Counsel.

18          4.       The protected discovery and information contained therein may only be used in

19 connection with the litigation of this case and for no other purpose. The protected discovery is now and

20 will forever remain the property of the United States Government.

21          5.       Defense Counsel will store the protected discovery in a secure place, such as Defense

22 Counsel’s private office, and will use reasonable care to ensure that it is not disclosed to third persons or

23 their respective client in violation of this agreement.

24          6.       If Defense Counsel releases custody of any of the protected discovery, or authorized

25 copies thereof, to any person described in paragraph (3), Defense Counsel shall provide such recipients

26 with copies of this Order and advise that person that the protected discovery is the property of the United

27 States Government, that the protected discovery and information therein may only be used in connection

28 with the litigation of this case and for no other purpose, and that an unauthorized use of the protected

     Stipulation & [Proposed] Protective Order             2
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 1 discovery may constitute a violation of law and/or contempt of court.

 2          7.       In the event that defendant obtains substitute counsel, undersigned Defense Counsel

 3 agrees not to disclose any protected discovery to successor counsel absent a court order that a) Defense

 4 Counsel be relieved, b) successor counsel be appointed, and c) all discovery be turned over to successor

 5 counsel.

 6          8.       Defense Counsel shall be responsible for advising their client, employees, and other

 7 members of the defense team of the contents of this Stipulation/Order.

 8          IT IS SO STIPULATED.

 9 Dated: June 6, 2017                                    Respectfully submitted,

10
                                                          PHILLIP A. TALBERT
11                                                        United States Attorney

12                                                 By:    /s/ Jared Dolan
                                                          JARED C. DOLAN
13                                                        Assistant U.S. Attorney

14

15                                                 By:    /s/ Mia Crager__________
                                                          MIA CRAGER
16                                                        Counsel for PAMELA EMANUEL

17                                                 By:    /s/ Linda Fullerton
                                                          LINDA FULLERTON
18                                                        Counsel for GREGORY LEE

19
                                                   By:    /s/ Michael Long
20                                                        MICHAEL LONG
                                                          Counsel for BRITTANY MAUNAKEA
21

22

23                                                   ORDER

24          IT IS SO FOUND AND ORDERED.

25 DATED: June 6, 2017.

26                                                        HON. EDMUND F. BRENNAN
                                                          United States Magistrate Judge
27

28

     Stipulation & [Proposed] Protective Order           3
